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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT TACOMA
10    UNITED STATES OF AMERICA,
11                         Plaintiff,                      CASE NO. CR09-5088BHS
12           v.
13    STEVEN B. SMITH and BRADLEY                          ORDER DENYING
14
      ALEXANDER GEORGE GARNER,                             DEFENDANT GARNER’S
                                                           MOTION TO SUPPRESS AND
15
                           Defendants.                     FOR EVIDENTIARY
                                                           HEARING TO DETERMINE
16
                                                           VOLUNTARINESS

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            This matter comes before the Court on Defendant Garner’s Motion to Suppress
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     and for Evidentiary Hearing to Determine Voluntariness (Dkt. 51). The Court has
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     considered the pleadings filed in support of and in opposition to the motion, heard the
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     testimony of witnesses and oral arguments of counsel, considered the remainder of the
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     file, and hereby denies the motion for the reasons stated herein.
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                                        I. FINDINGS OF FACT
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            1.     On November 17, 2008, Plaintiff United States of America filed a criminal
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     complaint against Defendants Steven B. Smith and Bradley Alexander George Garner
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     alleging violations of Sections 1343, 1346, and 1349 of U.S.C. Title 18. Dkt. 1. On
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     March 19, 2009, Defendants were charged in a four-count Superseding Indictment with
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 1   wire fraud and theft of honest services in violation of 18 U.S.C. §§ 1343 and 1346, mail
 2   fraud in violation of 18 U.S.C. § 1341, and unlawful monetary transaction in violation of
 3   18 U.S.C. § 1957. Dkt. 36.
 4          2.     On November 19, 2008, federal agents searched the home of Defendant
 5   Garner, which was located at 76854 Castle Court, Palm Desert, California. Defendant’s
 6   wife, Stephanie Garner, was present during the search.
 7          3.     The federal agents had a warrant to search the Garners’ house. The warrant
 8   did not authorize the seizure of computers or other electronic storage devices.
 9          4.     The federal agents did not advise Mrs. Garner of her Miranda rights and
10   they did question her during the search.
11          5.     Mrs. Garner answered some questions and then informed the agents that she
12   needed to find an attorney because her husband had been arrested and taken into custody
13   at the beginning of the search.
14          6.     After a couple hours of the search, the agents asked Mrs. Garner about her
15   personal computers – a Dell laptop located on a table downstairs in the house (“Dell
16   Laptop”) and a Compaq desktop computer, which was unplugged and located in a room
17   upstairs (“Compaq Desktop”).
18          7.     At some time after Mrs. Garner requested an attorney, a federal agent,
19   Carlos Vasquez, approached Mrs. Garner with a form titled “Consent to Search.”
20          8.     There was no evidence that either Agent Vasquez or any other agent
21   threatened Mrs. Garner during the search of her residence.
22          9.     No agent had a weapon drawn during the interaction between Agent
23   Vasquez and Mrs. Garner.
24          10.    Agent Vasquez filled out the “Consent to Search” forms for the Dell Laptop
25   and the Compaq Desktop. He then approached Mrs. Garner, explained to her that he
26   needed her consent to search these computers, and that he couldn’t search the computers
27   without her consent.
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 1          11.    Although Mrs. Garner testified that she did not recall whether Agent
 2   Vasquez asked her to read the forms, Agent Vasquez testified that he specifically asked
 3   her to read the forms. He further testified that she read the forms, that she understood the
 4   contents of the forms, and that she had no questions about the forms.
 5          12.    After Mrs. Garner signed the forms, the agents imaged the hard drives of
 6   both computers.
 7          13.    Federal agents subsequently determined that the Dell Laptop was one of the
 8   computers originally belonging to the National Aeronautics and Space Administration.
 9          14.    The government has not obtained incriminating evidence from the Compaq
10   Desktop.
11                                II. CONCLUSIONS OF LAW
12   A.     Standing
13          1.     Defendants do not have standing to contest the search of the Dell Laptop
14   because neither Defendant has an ownership interest in the Dell Laptop. The Dell Laptop
15   belongs to the government.
16          2.     Although the Compaq Desktop was owned by the Garners and was used by
17   Defendant Garner, this issue is moot because the government failed to obtain any
18   incriminating evidence from this computer. Therefore, there is no evidence to suppress.
19   B.     Voluntariness
20          3.     Even if either Defendant had an expectation of privacy in the Dell Laptop,
21   Mrs. Garner’s consent was voluntary. Mrs. Garner was not in custody when Agent
22   Vasquez presented the “Consent to Search” form, Miranda warnings were not required,
23   the form clearly stated that she did not have to consent to the search of the computers, and
24   the form was not presented in a threatening manner.
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 1                                      III. ORDER

 2         Therefore, it is hereby

 3         ORDERED that Defendant Garner’s Motion to Suppress and for Evidentiary

 4   Hearing to Determine Voluntariness (Dkt. 51) is DENIED.

 5         DATED this 27th day of April, 2009.




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                                                  BENJAMIN H. SETTLE
 9                                                United States District Judge
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